 

Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page1of 33
NOV 29 2020

CLERK, US BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
Tampa DIVISION

  

ill in this information to identify your case:

    
  

 

 

Debtor 1 Hamilton Staples
First Name Middle Name Last Name ‘

Debtor 2 ZA (Nort

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of _ Florida
Case number _ 9:20-bk-08465-FMD CHAPTER 11 - Sub V

(If known)

() Check if this is an
amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

al Summarize Your Assets

Your assets
Value of what you own

' 4. Schedule A/B: Property (Official Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule A/B........ccccccsscssssesssessesssesssececenesanscsneenecnsenesseeesaseeseaeoeseatenasensataseeneeeneas $ 230,000.00 __
1b. Copy line 62, Total personal property, from Schedule A/B......cccccsessscsssesscssssesessessssessccesssscsssssnsssesaesereesvessscessuescaceseeeas ¢___ 16,800.00
1c. Copy line 63, Total of all property on Schedule A/B ..........scsssssccscescssereceeeseesaesscasssedenaesnsssennssvacassussessseaseaceesensacenstseeeats ¢ _ 246,800.00

 

 

 

part 2: | Summarize Your Liabilities

Your liabilities —
. Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ _ 445,000.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F vo... ccecesssceeeseeeseseeeaees $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....c.sseccscceseeeeeeeesanees + g 1,200,000.00

Your total liabilities g _1,200,000.00

il Summarize Your Income and Expenses
4. Schedule I: Your Income (Official Form 1061)

Copy your combined monthly income from line 12 of Schedule fo... seseeeecsssseeersseseeseveesseecessessasvaneneeseeeeteseessesseeaseeseeees $ ——3,100.00___
5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c Of SChECUIe So... cccecsccceeetessetecceneeneeseeeescassanecesenseaeensssnesessneescsaseatserseeeaeaseaase $__3,075.00

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
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Debtor 1 Hamilton Staples Case number (itknown _9:20-bk-08465-F MD CHAPTER 11 - Sub V

First Name Middle Name Last Name

 

 

| Part 4: | Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

LD No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

4 Yes

 

7. What kind of debt do you have?

LJ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

t

 

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. 3 2,650.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ Q
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0
9d. Student loans. (Copy line 6f.) $ 0
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0
9g. Total. Add lines 9a through 9f. $ 0

 

 

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20

ill in this information to identify your case and this filing:

 

 

 

Debtor 4 Hamilton Staples
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of __ Florida
9:20-bk-08465-FMD CHAPTER 11 - Sub V

Case number

 

 

ma Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

Official Form 106A/B
Schedule A/B: Property

 

Page 3 of 33

C3 Check if this is an
amended filing

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

LI No. Go to Part 2.

Yes. Where is the property?
What is the property? Check ail that apply.
Single-family home

ma Duplex or multi-unit building

(Q condominium or cooperative

LQ Manufactured or mobile home

CQ Land

Investment property

C) Timeshare

Cl other

4.1, 25 Medalist Way

Street address, if available, or other description

 

 

Rotonda West
City

Florida 33947
State ZIP Code

 

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

g 230,000.00 ¢ 230,000.00

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

Debtor 1 only

CQ Debtor 2 only

U) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

Charlotte
County

 

 

CU] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

lf you own or have more than one, list here:
What is the property? Check all that apply.
O) Single-family home

QO) Duplex or multi-unit building

UL Condominium or cooperative

L) Manufactured or mobile home

CY Land

(J Investment property

L} Timeshare

CY other

1.2.
Street address, if available, or other description

 

 

 

City State ZIP Code

 

Who has an interest in the property? Check one.

UL) Debtor 1 only

C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

LD At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have. Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

 

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1

 
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Debtor 1 Case number (if known),
First Name Middle Name Last Name
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
QO) Singte-fami the amount of any secured claims on Schedule D:
1.3. ingle-family home _ Creditors Who Have Claims Secured by Property.

Street address, if available, or other description O Duplex or multi-unit building <
O) Condominium or cooperative Current value of the Current value of the
( Manufactured or mobile home entire property? portion you own?
UC) Land $ $
CI Investment property

City State. zIPCode (J Timeshare Describe the nature of your ownership
Q interest (such as fee simple, tenancy by

Other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
C) Debtor 1 only

County CY Debtor 2 only
C) Debtor 1 and Debtor 2 only L) Cheek if this is community property
(C) At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number here. ...........ccscccsersssecceseecceseeesenennenvscansaseeenenereeeeaesenseeaeoeeneneces >

 

 

 

Bea Describe Your Vehicles

 

UL No
Yes
3.1. Make: Dodge
Model: Charger
Year: 2018
70,000

Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.

& Debtor 1 only

CI) Debtor 2 only

CQ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

L] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
U) Debtor 1 only

C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

L) Check if this is community property (see
instructions)

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims.on: Schedule D:
‘Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

$ 15,000.00 $ 15,000.00

 

Do not deduct sécured.claims or exemptions. Put

the amount of any secured claims.on Schedule D:

Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

 

Official Form 106A/B

Schedule A/B: Property

page 2

 
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Debtor 1 Hamilton Staples Case number ¢irknown _9:20-bk-08465-FMD CHAPTER 11 - Sub V
First Name Middle Name Last Name
3.3, Make: Who has an interest in the property? Check one. D9 not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: U) Debtor 1 only Creditors Who Have Claims Secured by Property.
y C) Debtor 2 only
ear:

Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

L) Debtor 1 and Debtor 2 only
) At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CQ Debtor 4 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

() at east one of the debtors and another

CJ Check if this is community property (see
instructions)

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

OQ) No
QC) Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

 

 

 

 

Who has an interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

CQ Debtor 1 and Debtor 2 only

(Cd At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Do not deduct secured‘claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

 

 

 

4.2, Make: Do not deduct secured claims or-exemptions. Put
the amount of any secured claims on Schedule D:
Model: 5 Debtor 1 only Creditors Who Have Claims Secured by Property.
Debtor 2 only
Year: CJ Debtor 1 and Debtor 2 only Current value or the Current value of the
Other information: (CI At least one of the debtors and another Properly P y
C) Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages ls _ 15,000.00
you have attached for Part 2. Write that number here >
Official Form 106A/B Schedule A/B: Property page 3

 
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Debtor 1 Hamilton Staples Case number (itknown) 9:20-bk-08465-FMD CHAPTER 11 - Sub V
First Name Middle Name Last Name

ES Describe Your Personal and Household Items

 

 

 

- Current value of the

” portion you own?
Do-not deduct secured claims
or exemptions.

Do you.own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
Q) No

& Yes. Describe......... g 350.00
Furniture, Appliances :

 

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

QO) No

Yes. Describe.......... $ 200.00
Television, Cellphone

 

 

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
UL) No

LI} Yes. Describe.......... $

 

 

 

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
UL) No
LJ Yes. Describe.......... $

 

 

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
C) No
C) Yes. Describe.......... $

 

 

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

U) No

Yes. Describe.......... $ 150.00
Shoes, Sneakers, Shorts, Pants, Coat, Jacket

 

 

 

 

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

 

UC No
UI Yes. Describe.......... : $

 

 

 

13.Non-farm animals
Examples: Dogs, cats, birds, horses

CQ) No -
U) Yes. Describe.......... $

 

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

UL) No

CL] Yes. Give specific $
information. .............

 

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 700.00
for Part 3. Write that number here : >

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
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Debtor 4 Hamilton. Staples Case number (irknown_9:20-bk-08465-FMD CHAPTER 11 - Sub V
First Name Middle Name Last Name
FTA vecene Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? : . Current value of the

_portion. you own?
: Do not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions,
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
CI No
bd Yes CASH: voecssssssnssssssee $ 600.00
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
& No
CD Yes. ees Institution name:
17.1. Checking account: $
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9, Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
& No
ee Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
No Name of entity: % of ownership:
QO) Yes. Give specific % $
information about
them %
% $

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 5
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Debtor 4 Hamilton, Staples Case number (itknown__9:20-bk-08465-FMD CHAPTER 11 - Sub V

First Namo Middle Name Last Name

 

 

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
LI Yes. Give specific —_ Issuer name:
information about

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

& No
CI Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22.Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

& No

7 institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
& No
CD Ves i ecessssssssssssseeee Issuer name and description:
$
$

 

 

Official Form 106A/B Schedule A/B: Property page 6

 
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Debtor 4 Hamilton Staples Case number (irknawny__9:20-bk-08465-FMD | CHAPTER 11 - Sub V
First Name Middle Name Last Name

 

 

 

 

 

24.Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
CD Ves oe ccssssssssssssssssssssssesee

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

&d No

Q) Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

& No

C1 Yes. Give specific
information about them... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No

UL) Yes. Give specific
information about them... $

 

 

 

 

Money or property owed to you? Current value of the
portion you own?

Do not deduct secured

 

 

 

 

 

 

 

 

 

claims or exemptions.
28. Tax refunds owed to you
& No
CI Yes. Give specific information Federal:
about them, including whether
you already filed the returns State:
and the tax years. woes
Local:
29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
&d No
L) Yes. Give specific information.............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $.
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No
CI Yes. Give specific information...
$

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 
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Debtor 1 Hamilton Staples Case number (itknown) 9:20-bk-08465-FMD CHAPTER 11 - Sub V

 

First Name Middle Name Last Name

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

RI No

LJ Yes. Name the insurance company Company name: Beneficiary:
of each policy and list its value. ...

Surrender or refund value:

 

 

 

32. Any interest in property that is due you from someone who has died
lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

& No

 

C) Yes. Give specific information.............

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

& No

 

CY Yes. Describe each Claim. «oss

 

 

 

to set off claims
No

 

CI Yes. Describe each claim. ...eeccces.

 

 

 

35. Any financial assets you did not already list

 

& No

C) Yes. Give specific information............

 

 

 

 

§
$
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
$
$
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ves > $___ 600.00

 

 

 

37.Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
LI Yes. Go to line 38.

38. Accounts receivable or commissions you already earned

XM No

Ca Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

Current value of the
‘portion you own?

Do-not deduct secured claims
or exemptions.

 

() Yes. Describe...

 

“eg

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

& No

 

Cl Yes. Describe.......

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property

page 8

 
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Debtor 1 Hamilton Staples Case number (if known), 9:20-bk-08465-FMD CHAPTER 11 - Sub V
First Name Middle Name Last Nama

 

 

40, Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

C) No

4 Yes. Describe........ $ 500.00
Misc. tools of trade

 

 

41. Inventory
No
CI Yes. Describe....... $

 

 

 

 

42.Interests in partnerships or joint ventures

No

U) Yes. Describe....... Name of entity: % of ownership:
% $
% $
% $

 

43. Customer lists, mailing lists, or other compilations
& No
U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
] No
L) Yes. Describe........

 

 

 

 

44. Any business-related property you did not already list
K No
UL) Yes. Give specific

 

information .........

 

 

 

PPA fH fH Ff Ff

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 500.00
for Part 5. Write that number here >

 

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.

U) Yes. Go to line 47. ;
Current value of the
portion you. own?
Do not deduct secured claims

 

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
No
CDV 6S oo eceecscccsessssesee
$

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property . page 9
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 12 of 33

Debtor 1 Hamilton Staples Case number (irknown_9:20-bk-08465-FMD = CHAPTER 11 - Sub V

First Name Middle Name Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

48. Crops—either growing or harvested
& No
CL) Yes. Give specific
information. ............ $
49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
No
CD Yes cic ccessssssssesecene
$
50. Farm and fishing supplies, chemicals, and feed
& No
DY VOS oeeceeccseccssssseesseen
$
51.Any farm- and commercial fishing-related property you did not already list
No
Cl Yes. Give specific ;
information............. $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0
for Part 6. Write that number here >
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No
LQ Yes. Give specific
information. ............
$
54. Add the dollar value of all of your entries from Part 7. Write that number here > § 0
List the Totals of Each Part of this Form
55. Part 1: Total real estate, line 2 > $ 230,000.00
56.Part 2: Total vehicles, line 5 $ 15,000.00
57.Part 3: Total personal and household items, line 15 $ _ 700.00
58. Part 4: Total financial assets, line 36 $ 600.00
59.Part 5: Total business-related property, line 45 $ _ 500.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0
61.Part 7: Total other property not listed, line 54 +3 0
62. Total personal property. Add lines 56 through 61. «0.0.0... $__16,800.00 Copy personal property total} +$ 16,800.00
63. Total of all property on Schedule A/B. Add line 55 + line 62..........c.csecccssesececsececcesesensenenssrsesscaesecrensaeseatercorstaneaenencanseees $ 246,800.00

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 13 of 33

Fill in this information to identify your case:
Debtor 1 Hamilton Staples
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of _ Florida

9:20-bk-08465-FMD CHAPTER 11 - Sub V (J Check if this is an
{If known) | | amended filing

Case number

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt . 0419

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? ‘Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CQ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property andlineon Current value ofthe © Amourit.of the exemption you claim Specific jaws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

” Schedule. A/B that lists this ‘property portion you own ; :
‘ - , Copy the value from Check only one box for each exeniption.
Schedule A/B . . .

Brief Cash 600.00 Ba ¢ 600.00 Fla, Statute § 222,25(4)

description; . ———————————__._ § : $ :

Line from LJ 100% of fair market value, up to

Schedule A/B: ‘any applicable statutory limit

Brief

description: $ Us¢

Line from C) 100% of fair market value, up to

Schedule A/B: any applicable statutory limit

Brief

description: $ Os

Line from CL} 100% of fair market value, up to

Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Xd No
CI Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

QO No .
Ol ves oo i

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of2_
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 14 of 33

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Hamilton Staples Case number (itknown) 9:20-bk-08465-FMD CHAPTER 11 - Sub V
First Name Middle Name Last Name
ean 2: Page
Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own ,
Copy the value from Check only one box for each exemption
Schedule A/B
Brief
description: a
Line from C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: i —CS GF NN
Line from L) 100% of fair market value, up to
Schedule A/B:. ——— any applicable statutory limit
Brief
description: —_—_——t— Hee ees—(etstséC‘*T“TD'SF
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: ee
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description; § ————H——-  §_ Lis
Line from C) 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: g$  £«zOO¢
Line from UO) 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: |. ———————————-__ 8 Os
Line from C3 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description, |. ———————————__ § Os
Line from () 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: . ——————————-_ § Ls
Line from CL) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description, . ————————————_ § Us
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: —________— § L$
Line from LL) 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description; |. ——————————-—_ 3. Os
Line from C) 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit

 

 

 

Official Form 106C Schedule C: The Property You Claim as Exempt page_2 of _2
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20

Fill in this information to identify your case:

 

 

 

Debtor 4 Hamilton Staples
First Name Middle Name Last Name

Debtor 2

{Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number

9:20-bk-08465-FMD CHAPTER 11 - Sub V

 

(If known)

Official Form 106D

 

Page 15 of 33

CY Check if this is an

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
CJ} No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

& Yes. Fill in all of the information below.

Eu List All Secured Claims

amended filing

12/15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column A Column B | Column c
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amountof.claim | | Value of collateral | | ‘Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. yy ngt deduct the that supports this |) portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim : sthany
2.1 . :
[ 2.1] MTGLQ Investors c/o S/N Servicing Colpescribe the property that secures the claim: g__ 297,500.00 $ 230, 000. 00 = ¢ 67,500.00
Creditor's Name
323 5th Street
Number Street 25 Medalist Way Rotonda West Fl. 33947
As of the date you file, the claim is: Check all that apply.
QO Contingent
Eureka CA 95501 U) unliquidated
City State ZIP Code Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Debtor 1 only An agreement you made (such as mortgage or secured
Ol Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only Q) Statutory lien (such as tax lien, mechanic's lien)
C) Atleast one of the debtors and another CJ Judgment lien from a lawsuit
QO) other (including a right to offset)
C) Check if this claim relates to a
community debt
Date debt was incurred _ 6/2004 Last 4 digits of account number 7, 4, 9. 7_
| 2.2} Chrysler Capital Describe the property that secures the claim: $__23,500.00 g__15,000.00 _8,500.00
Creditor's Name
P.O. Box 660335
Number Street 2018 Dodge Charger
As of the date you file, the claim is: Check all that apply.
Q Contingent
Dallas TX 75266-0335 QC) unliquidated
City State ZIP Code Q) disputed
Who owes the debt? Check one. Nature.of lien. Check all that apply.
Debtor 1 only An agreement you made (such as mortgage or secured
O) Debtor 2 only car loan)
C) Debtor 1 and Debtor 2 only CQ) Statutory lien (such as tax lien, mechanic's lien)
CQ) Atleast one of the debtors and another CY Judgment tien from a lawsuit
OQ) other {including a right to offset)
QO) Check if this claim relates to a
community debt {
Date debt was incurred _1/2019 Last 4 digits of account number __ 2 & 65 __
Add the dollar value of your entries in Column A on this page. Write that number here: §-324,000.00—
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 3

 
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 16 of 33

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

O cooood

Check if this claim relates to a
community debt

Date debt was incurred

O) Disputed

Nature of lien. Check all that apply.

Q) An agreement you made (such as mortgage or secured
car loan)

Q) Statutory tien (such as tax lien, mechanic's lien)

Q) Judgment lien from a lawsuit

Q) Other (including a right to offset)

Last 4 digits of account number

 

 

 

Add the dollar value of your entries in Column A on this page. Write that number here: |g
If this is the last page of your form, add the dollar value totals from al! pages.
Write that number here: $

 

 

Debtor 1 Hamilton Staples Gase number (known _9:20-bk-08465-FMD CHAPTER 11 - Sub V
First Name Middle Name Last Name
Additional Page fren la eee ot um oa
a: . . oe . nount of claim Value-of collateral nsecure
After listing any entries on this page, number them beginning with 2.3, followed Donot deduct the that Supports this ‘portion
by 2.4, and so forth. value of collateral. cainv: Afany.
2.3 Kimberly Wood-Staples Describe the property that secures the claim: $__4,000.00 $__15,000.00 g__0
Creditor's Name
25 Medalist Way
Number Street
2018 Dodge Charger
As of the date you file, the claim is: Check all that apply.
Rotonda West. FL. 93947 Q) Contingent
City State ZIP Code QC) unliquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Debtor 1 only An agreement you made (such as mortgage or secured
O) Debtor 2 only car loan) :
QU Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
C) Atteast one of the debtors and another ) Judgment tien from a tawsuit
Q) other (including a right to offset)
C) Check if this claim relates to a
community debt
Date debt was incurred _ 1/2019 Last 4 digits of account number_
2.4 Englewood Bank & Trust Describe the property that secures the claim: $__ 120,000.00 $ > 67,500 g 120,000.00
Creditor's Name
1111 South McCall Road
Number Street 25 Medalist Way Rotonda West Fi. 33947
As of the date you file, the claim is: Check all that apply.
O Contingent
Englewood FL 34223 ({) Unliquidatea
City State ZIP Code Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Bd Debtor 1 only An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
OQ) Debtor 1 and Debtor 2 only (CD Statutory tien (such as tax lien, mechanic's lien)
O21 Atleast one of the debtors and another CY Judgment tien from a lawsuit
OC) Check if this claim relates to a C1 Other (including a right to offset)
community debt
Date debt was incurred _ 1/2006 Last 4 digits of account number ___ _
| | Describe the property that secures the claim: $ $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
C) Contingent
City State ZIP Code Q) Unliquidated

 

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page 2 of _3

 
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Debtor 1 Hamilton Staples Case number (if known), 9:20-bk-08465-FMD CHAPTER 11 - Sub V

First Name. Middle Name Last Name

ee List Others to Be Notified for a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not filf out or submit this page.
] N/A On which line in Part 4 did you enter the creditor?
Name Last 4 digits of account number ___ Le
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber_
Number Street
City State ZIP Cade
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code
* On which line in Part 1 did you enter the creditor?
i Name Last 4 digits of account number
Number Street
i City State ZIP Code

 

 

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page 3 of _3
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20

ill in this information to identify your case:

Page 18 of 33

 

 

 

Debtor 1 Hamilton Staples
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known)

9:20-bk-08465-FMD CHAPTER 11 - Sub V

L) Check if this is an

 

amended filing

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |\f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1: List All of Your PRIORITY Unsecured Claims

1.

Do any creditors have priority unsecured claims against you?

Rd No. Go to Part 2.

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

CD Yes.

2. List all of your priority unsecured claims. If a creditor has more than. one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as. possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.) -_ ;
-Total-claim: “Priority. “<< :Nonpriotity
ae : ~amount <3: amount :

2.1
N/A Last 4digits ofaccount number $ $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Gode O) Contingent
; QO) unliquidated
Who incurred the debt? Check one. Q bisputed
C} Debtor 1 only
QO) Debtor 2 only Type of PRIORITY unsecured claim:
A Debtor 1 and Debtor 2 only CJ Domestic support obligations
At least one of the debtors and another ( Taxes and certain other debts you owe the government
O) Check if this claim is for a community debt C) Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
O No UO other. Specify
QO) Yes
2.2 | Last 4 digits ofaccountnumber_ sg $ $
Priority Creditors Name
When was the debt incurred?
Number Street ,
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code (2 Untiquidated
Who incurred the debt? Check one. 1 Disputed

 

Q Debtor 1 only

QO) Debtor 2 only

O) Debtor 1 and Debtor 2 only

Cd Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
CO No
U) Yes

Type of PRIORITY unsecured claim:
CQ Domestic support obligations
C) Taxes and certain other debts you owe the government

( Claims for death or personal injury while you were
intoxicated

2) other. Specify

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1of____

 
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 19 of 33

Debtor 4 Hamilton Staples

First Name Middle Name Last Name

Case number (if known). 9:20-bk-08465-FMD CHAPTER 11 - Sub V

 

 

tian Your PRIORITY Unsecured Claims — Continuation Page

 

L N/A

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

| Total.claim a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number $ $ 5
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Beaverton OR 97006 QO) Contingent
City State ZIP Code C) unliquidated
QO Disputed
Who incurred the debt? Check one.
(2 Debtor 1 only Type of PRIORITY unsecured claim:
U1 Debtor 2 only QO) Domestic support obligations
CQ) Debtor 1 and Debtor 2 only .
U) Taxes and certain other debts you owe the government
(1 At least one of the debtors and another : ‘ :
(2 Claims for death or personal injury while you were
O) Check if this claim is for a community debt intoxicated
Q) other. Specify
Is the claim subject to offset?
O No
QO) Yes
Last 4 digits ofaccountnumber— ss  t—(‘é‘ S $ §
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code C] Untiquidated
C) Disputed
Who incurred the debt? Check one.
OC) Debtor 1 only Type of PRIORITY unsecured claim:
U1 Debtor 2 only C) Domestic support obligations
CD Debtor 1 and Debtor 2 only .
O) Taxes and certain other debts you owe the government
(CD Atleast one of the debtors and another . a .
C) Claims for death or personal injury while you were
O) Check if this claim is for a community debt intoxicated
OC) other. Specify
Is the claim subject to offset?
C) No
QO) Yes
: Last4digits ofaccountnumber ss  —t—“‘é«CS $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
ao Contingent
Gity State ZIP Cade C2 unliquidated
Q) Disputed
Who incurred the debt? Check one.
C) Debtor 4 only Type of PRIORITY unsecured claim:
L Debtor 2 only O) Domestic support obligations
Q) Debtor 1 and Debtor 2 only .
Q) Taxes and certain other debts you owe the government
C) At feast one of the debtors and another . . ,
(3 Claims for death or personal injury while you were
QO) Check if this claim is for a community debt Intoxicated
2 other. Specify
Is the claim subject to offset?
O No
QO) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of

 
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Debtor 1 Hamilton Staples Case number (irknown_9:20-bk-08465-FMD = CHAPTER 11 - Sub V

First Nama Middle Name Last Name

 

 

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

(2 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1, If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three. nonpriority unsecured
claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

ks_| Indigo Card Last 4 digits of account number _6. 7. 1. 6 y
Nonpriority Creditor’s Name $ nkown
was the incurr 2018

15220 NW Greenbrier Pkwy - Suite 200 When debt incurred? _<"".
Number Street

Beaverton OR 97006
City State ZIP Code As of the date you file, the claim is: Check all that apply.

{) Contingent
Who incurred the debt? Check one. Q) Unliquidatea
Debtor 1 only OQ Disputed
O) Debtor 2 only
Cl Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
D2 Atleast one of the debtors and another 2 Student toans
O Check if this claim is for a community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (1 Debts to pension or profit-sharing plans, and other similar debts
No Other. Specify __ Credit Card
QO yes
ke | Reflex Card Last 4 digits of account number _1. 7. 8. 0. $___ Unknown

Nonpriority Creditors Name When was the debt incurred? 2018

P.O. Box 3220
Number Street .

Buffalo NY 44240-3220 As of the date you file, the claim is: Check all that apply.
City State ZIP Code OQ Contingent

Who incurred the debt? Check one. QD unliquidated
Debtor 1 only C) Disputed
QO Debtor 2 only

Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

 

 

OO) Atleast one of the debtors and another C2 student loans
oe _ | C) obligations arising out of a separation agreement or divorce
CO Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? Cd Debts to pension or profit-sharing plans, and other similar debts
& No Other. Specify _ Credit Card
C) Yes
43 Credit One Bank Last 4 digits of accountnumber 2. 9. 2. 7

 

¢ Unknown

 

Nonpriority Creditors Name
Poy When was the debt incurred? 2019

6801. S Cimarron Road

 

 

Number Street
Las Vegas. NV. 89113 sae
City Sule TIP Code As of the date you file, the claim is: Check all that apply.

oO Contingent
2 Untiquidated
QO Disputed

Who incurred the debt? Check one.
& Debtor 1 only
QO) Debtor 2 only

U1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

CL) Atleast one of the debtors and another
C) Student loans

Q) Check if this claim is for a community debt C) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

U) Debts to pension or profit-sharing plans, and other similar debts

Other. Specify _ Credit Card

Is the claim subject to offset?
No
QD) Yes

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1. of _3_
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 21 of 33

Debtor 1 Hamilton Staples
First Name Middle Name Last Name

Case number (if known) 9:20-bk-08465-FMD CHAPTER 11 - SubV

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

4.4 - Sysco West Coast
Nonpriority Creditors Name

 

 

3000 69th Street East
Number Street
Palmetto Florida 34221
City State ZIP Code

Who incurred the debt? Check one.

Debtor 1 only

O) Debtor 2 only

C2 Debtor 1 and Debtor 2 only

O) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

& No
O) Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. > Total claim

 

 

Last 4 digits of account number _ Unknown § 20,000.00
When was the debt incurred? 2015

As of the date you file, the claim is: Check all that apply.

O Contingent
QC) Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

{) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2) Debts to pension or profit-sharing plans, and other similar debts

& other. Specify_ Judgment Business Debt

 

 

4.5 - Joseph Palmerone & Taylors Way LLC.

 

Nonpriority Creditor's Name

 

 

70 Taylors Way
Number Street .
Newburgh New York 12550
City State ZIP Code

Who incurred the debt? Check one.

&] Debtor 1 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

OO) Atleast one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

&) No
C) Yes

Last 4 digits of account number _ Unknown g Unknown
When was the debt incurred? 2013

As of the date you file, the claim is: Check all that apply.

Q] Contingent
Q) Unliquidated
@ Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

2 Debts to pension or profit-sharing plans, and other similar debts

@d Other. Specify__ Judgment Business Debt

 

 

4.6 - Prefab City Inc.
Nonpriority Creditor's Name

11 Cedar Pand Lane

 

 

Number Street
Poughkeepsie New York 12603
City State ZIP Code

Who incurred the debt? Check one.

& Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
No
QO Yes

 

1,200,000.00
Last 4 digits of account number _ Unknown 8. —

When was the debt incurred? 2013

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q) unliquidated
Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans
O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
ebts to pension or profit-sharing plans, and other similar debts
QO) Debts t i fit-sharing pl d other similar debt
4 other. Specify Judgment Business Debt

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 2. of 3_

 
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Debtor 4 Hamilton Staples

First Name Middle Name Last Name

Case number (if known) 9:20-bk-08465-FMD CHAPTER 11 - Sub V

 

as List Others to Be Notified About a Debt That You Already Listed

 

 

 

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

N/A On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street O) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ____ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street QC) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): U1 Part 1: Creditors with Priority Unsecured Claims
Number Street UO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State ZIP Code
x On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): QO) Part 1: Creditors with Priority Unsecured Claims
bi
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
City Stato TIP Gode Last 4 digits of accountnumber_

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _of__

 
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 23 of 33

Debtor 1 Hamilton Staples
First Name Middle Name Last Name

Ea Add the Amounts for Each Type of Unsecured Claim

Case number (if known) 9:20-bk-08465-FMD CHAPTER 11 - Sub V

 

Add the amounts for each type of unsecured claim.

Total. claims 6a. Domestic support obligations

from Part 1 6b. Taxes and certain other debts you owe the

government

6c. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims.
Write that amount here.

6e. Total. Add lines 6a through 6d.

Total claims: 6f. Student Joans

from Part 2 6g. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

_ 61. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

 

6a.

6b.

6c.

6d.

6e.

Gf.

6g.

6h.

Gi.

gj.

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

 

 

 

 

Total claim

$ 0
$ 0

$ 0
+s 0
$ 0
Total claim

$ 0

$ 0

$ 0

+ $ _ 1,220,000.00

 

$ __1,220,000.00

 

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

page 3. of _3_
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20

Fill in this information to identify your case:

Debtor Hamilton Staples

First Name Middle Name Last Name

 

Debtor 2
(Spouse ff filing) First Name Middte Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number 9:20-bk-08465-FMD CHAPTER 11 - Sub V
(If known)

 

 

 

Official Form 106G

 

Page 24 of 33

C) Check if this is an
amended filing

Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
LY Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

LE]

N/A

Name

 

 

Number Street

 

City State ZIP Code

N
NL

Li

 

Name

 

Number Street

 

City State ZIP Code
2.3:

 

Name

 

Number Street

 

City State ZIP Code
2.4)

Name

 

 

Number Street

 

City State ZIP Code
251

Name

 

 

Number Street

 

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases

page 1 of _ 1
Debtor 1

Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 25 of 33

Case number (if known)

 

First Name

Last Name

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

State

ZIP Code

What the contract or lease is for

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Le

 

Name

 

Number

Street

 

City

State

ZIP Code

 

NS

Lt

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

 

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

page of
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 26 of 33

Fill in this information to identify your case:

Debtor 4 Hamilton Staples
First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of _Florida

 

Case number 9:20-bk-08465-FMD CHAPTER 11 - Sub V
(If known)

 

LJ Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

& No
CL) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
LJ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

C] No

C) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check ail schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
NIA Q) Schedule D, line
Name —__—_.
() Schedule E/F, line |
Number Street {i Schedule G, line
City State ZIP Code
3.2
N/A O) Schedule D, line
Name
O) Schedule E/F, line |
Number Street 1 Schedule G, line
City State ZIP Code
3.3
NIA QQ Schedule D, line
Name
() Schedule E/F, line
Number Streat CI Schedule G, tine
City State ZIP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of _1

 
Debtor 1

Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 27 of 33

 

First Name

| Additional Page to List More Codebtors

Middle Name

Last Name

Case number (if known),

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
() Schedule D, line
Name —_
() Schedule E/F, line
Number Street OC Schedule G, line
City State ZIP Code
|
(2 Schedule D, line
Name —_
(Q Schedule E/F, line
Number Street QO) Schedule G, line
__ City Siate ZIP Gode
|
QO) Schedule D, line
Name
1 Schedule E/F, line
Number Street QO) Schedule G, line
City State ZIP Code
|
(1 Schedule D, line
Name
() Schedule E/F, line
Number Street O) Schedule G, line
City State ZIP Code
e|
(I Schedule D, line
Name TT
Q) Schedule E/F, line
Number Street QO) Schedule G, line
City State ZIP Code
P|
(3 Schedule D, line
Name —-
QO) Schedule E/F, line
Number Street : QO) Schedule G, line
City State ZIP Code
|
QO) Schedule D, line
Name
Q) Schedule E/F, line
Number Swrect QO) Schedule G, line
City State ZIP Code
3.
{Q Schedule D, line
Name re
UL) Schedule E/F, line
Number Seat Q) Schedule G, line
City State ZIP Code

 

Official Form 106H

Schedule H: Your Codebtors

page of_

 
Case 2:20-bk-08465-FMD Doc 20

ill in this information to identify your case:

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Debtor 1 Hamilton Staples
First Name Middle Name Last Name

Debtor 2

(Spouse, ff filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of _ Florida

Case number 9:20-bk-08465-FMD CHAPTER 11 - Sub V

Check if this is:

 

(If known)

(3 An amended filing

 

Official Form 1061

 

LJ A supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY

Schedule I: Your Income

12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

part 1: | Describe Employment

1. Fill in your employment

information. Debtor 1

Debtor 2.or non-filing spouse |

 

If you have more than one job,
attach a separate page with
information about additional
employers.

Employment status Employed

L) Not employed

include part-time, seasonal, or

self-employed work.

Occupation Sole Proprioter / Contractor

Occupation may include student

or homemaker, if it applies.
Employer’s name HAMILTON STAPLES CONTRACTING

Employer's address 25 Medalist Way

4 Employed
C2 Not employed

Clerk

STATE OF FLORIDA

4000 S. Tamiami Trl. Venice, Fl. 34293

 

 

 

 

Ee ove Detaifs About Monthly Income

spouse unless you are separated.

below. If you need more space, attach a separate sheet to this form.

Number Street Number _ Street
Rotonda West FL 33947 Venice FL 34293
City State ZIP Code City State ZIP Code
How long employed there? 15 years 5 Years

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

For Debtor 2 or
non-filing spouse

 

$2,270.00

+ $ 150.00

 

For Debtor 1
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. ¢ 0
3. Estimate and list monthly overtime pay. 3. +$ 0
4, Calculate gross income. Add line 2 + line 3. 4.} $ 0

 

 

 

$ 2,420.00

 

 

 

 

Official Form 1061 Schedule |: Your Income

page 1

 
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 29 of 33

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 4 Hamilton Staples Case number (i known@:20-bk-08465-FMD CHAPTER 11 - Sub V
First Name Middle Name. Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 Were... ccccccccsccessscssessssssessecesecsesssesssesssssseessssusssseseseesecsesssessusseeeess >4 g¢ 0 $_ 2,420.00
5. List alt payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. § $ ?
5b. Mandatory contributions for retirement plans 5b. § $ 2
5c. Voluntary contributions for retirement plans 5c. § $. ?
5d. Required repayments of retirement fund loans 5d. § $ ?
5e. Insurance 5e. §$ $ ?
5f. Domestic support obligations i a) $__?
5g. Union dues 5g. § §__?
5h. Other deductions. Specify: 5h. +§ + $ ?
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d+5e+5f+5g+5h. 6. $ $ ?
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 $0 $_1,700.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
! $ 350.00 $ 0
monthly net income. 8a.
8b. interest and dividends 8b. § 0 $ 0G
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0 $ 0
settlement, and property settlement. 8c.
8d. Unemployment compensation 8d. $1,050.00 $ 0
8e, Social Security 8e.  §$ 0 $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Bf = $_O $__0
8g. Pension or retirement income 8g. §$ 0 $ Q
8h. Other monthly income. Specify: 8h. + 0 +3 0
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. $ 1,400.00 $ 0
10. Calculate monthly income. Add line 7 + line 9. _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $_1,400.00 $__1,700.00 7” . 3,100.00

41.

=

Q)
a

 

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify:

 

 

 

 

 

 

13.Do you expect an increase or decrease within the year after you file this form?

No.

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

 

 

 

1. §$ 0
12. i$ 3,100.00
Combined

monthly income

 

 

Yes. Explain: | Debtor expects an increase in income after covid-19 subsides

 

 

Official Form 1061 Schedule I: Your Income

page 2

 
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 30 of 33

ill in this information to identify your case:

 

 

 

Debt Hamilton Staples eet:
ebtor 4 First Name Middle Name Last Name Check if this 1S:
Debtor 2 i
(Spouse, if filing) First Name Middle Name Last Name 5 An amended filing
. . A supplement showing postpetition chapter 13
United States Bankruptcy Court forthe: Middle _pistrict of __ Florida expenses as of the following date: P

Case number _9:20-bk-08465-FMD CHAPTER 11 - Sub V

(if known) MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

c
: EAE Describe Your Household
_

 

 

 

1. Is this a joint case?

No. Go to line 2.
C) Yes. Does Debtor 2 live in a separate household?

Ui No
OQ] Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

2. Do you have dependents? U2 No .
Dependent's relationship to Dependent's Does dependent live
Do not list Debtor 1 and Qd Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... eee O
Do not state the dependents’ Daugther 21 3 No
names. Yes
Son 19 Q) No
& Yes
Daugther 14 CO) No
Yes
C3 No
C2 Yes
Q) No
LC Yes
3. Do your expenses include & No

expenses of people other than QO
yourself and your dependents? Yes

are Estimate Your Ongoing Monthly Expenses

 

’ Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
- expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

’ such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and
any rent for the ground or Jot. 4. $__1,750.00
If not included in line 4:
4a. Real estate taxes 4a. §
4b. Property, homeowner's, or renter’s insurance 4b. $
4c. Home maintenance, repair, and upkeep expenses 4c. $
$

4d. Homeowner's association or condominium dues 4d.

Official Form 106J Schedule J: Your Expenses page 1
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 31 of 33

 

 

 

 

 

 

 

 

 

Debtor 4 Hamilton Staples Case number (itknown) 9:20-bk-08465-FMD CHAPTER 11 - Sub V
First Name Middle Name Last Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. $
6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 100.00
6b. Water, sewer, garbage collection 6b. $__ 100.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 50.00
6d. Other. Specify: 6d. $
7. Food and housekeeping supplies 7. $ 300.00
8. Childcare and children’s education costs 8. $
9. Clothing, laundry, and dry cleaning 9. $
10. Personal care products and services 10. $
11. Medical and dental expenses 11. §
12, Transportation. Include gas, maintenance, bus or train fare. $ 400.00
Do not include car payments. 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. §
15b. Health insurance 1b. §
15c. Vehicle insurance 15c. $ 125.00
15d. Other insurance. Specify: 15d. §
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $__550.00
17b. Car payments for Vehicle 2 17.  $
17c. Other. Specify: 17. = §.
17d. Other. Specify: 17d. §$
18, Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your Income (Official Form 1061). 18. ¢
19. Other payments you make to support others who do not live with you.
Specify: 19. §$
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other properly See Note Below addressing 20a - 20e 20a. § See Note
20b. Real estate taxes 20b, $_See Note
20c. Property, homeowner's, or renter’s insurance 20c. $ See Note
20d. Maintenance, repair, and upkeep expenses 20d. $_See Note
20e. Homeowner's association or condominium dues 7 200. $_ See Note

* Debtor has investment/rental property 25 Medalist Way Rotonda West FL and real property expenses are listed Sch | Para. 8(a)
Official Form 106J Schedule J: Your Expenses . page 2
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20 Page 32 of 33

Debtor 1 Hamilton Staples
First Name Middle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Case number (it known) 9:20-bk-08465-FMD CHAPTER 11 - Sub V

21.

22a.

22b.

22c.

23a.

23b.

23c.

.24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

CY No.

+$

 

 

$ 3075.00

$0
$ 3,075.00

 

 

$ 3,100.00

~$ 3,075.00

 

 

$ 25.00

 

 

Yes. | Explain here:

 

| expect to have income increase within the year of 2021 as mybusiness income was diminished due to covid19

 

Official Form 106J Schedule J: Your Expenses

page 3

 

 
Case 2:20-bk-08465-FMD Doc 20 Filed 11/29/20

Fill in this information to identify your case:

Debtor 1 Hamilton Staples

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middie District of _ Florida _
Case number _ 9:20-bk-08465-FMD CHAPTER 11 - Sub V

(If known)

 

 

 

Official Form 106Dec

 

Page 33 of 33

L) Check if this is an
amended filing

Declaration About an Individual Debtor’s Schedules 42/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

Rd No

that they are true and correct.

XO eee

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

C) Yes. Name of person. . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, ! declare that | have read the summary and schedules filed with this declaration and

 

Signature of Debtor 1 Signature of Debtor 2
pate 11/27/2020 Date
MM/ DD / YYYY MM/ DD / YYYY

 

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
